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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                           ALVIN TODD, et al.,
                                   7                                                         Case No. 13-cv-04984-JST
                                                        Plaintiffs,
                                   8                                                         ORDER DENYING MOTION FOR
                                                  v.                                         CLASS CERTIFICATION
                                   9
                                           TEMPUR-SEALY INTERNATIONAL,                       Re: ECF Nos. 145, 227, 228
                                  10       INC., et al.,
                                  11                    Defendants.

                                  12
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 United States District Court




                                  13            Before the Court is Plaintiffs’ Motion for Class Certification, ECF No. 145. The Court

                                  14   will deny the motion.

                                  15   I.       BACKGROUND

                                  16            Plaintiffs1 bring this action on their own behalf and on behalf of a putative class of

                                  17   purchasers of Tempur products against Tempur-Sealy International, Inc. and Tempur-Pedic North

                                  18   America, LLC (collectively “Defendants”) for claims arising out of Defendants’ marketing and

                                  19   sale of mattresses, pillows, and other bedding products containing Tempur material. Specifically,

                                  20   Plaintiffs allege that Defendants’ representations of their Tempur products as “formaldehyde free,”

                                  21   “free of harmful VOCs,” “allergen and dustmite resistant,” “hypoallergenic,” and with a

                                  22   “completely harmless” odor, are false and misleading. ECF No. 156 (“TAC”) ¶¶ 3(h), 3(m), 3(n),
                                       4. Plaintiffs allege that Defendants knew their products did not conform to these representations
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                                       because internal testing revealed that Defendants’ products off-gassed many VOCs, including
                                  24
                                       formaldehyde, which can cause allergic reactions. Id. ¶ 4. Further, Plaintiffs claim that
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                                       1
                                  27    Currently, the Plaintiffs include: Alvin and Melody Todd, Brian and Sara Stone, Robbie
                                       Simmons, Thomas Comiskey, Toni Kibbee, Tina White, Johnny Martinez, Keith Hawkins,
                                  28   Patricia and Alan Kaufman, Jerry and Diane Kucharski, Julie Davidoff, Ericka and Kurt
                                       Anderson, and Tracey Palmer.
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                                   1   Defendants were aware of customer complaints about the odor and corresponding physical

                                   2   symptoms such as headache, nausea, asthma, eye and throat irritation, and allergic reactions. Id.

                                   3            Plaintiffs’ operative Third Amended Complaint sought to bring twenty-three different

                                   4   claims under the laws of eleven states, including false misrepresentation and unjust enrichment

                                   5   claims under the consumer protection laws of ten states: California, Illinois, Maryland,

                                   6   Massachusetts, Missouri, New Jersey, New Mexico, New York, Washington, and Wisconsin. Id.

                                   7   In addition, the TAC originally brought claims for a nationwide unjust enrichment class under

                                   8   Kentucky law. Id. However, the Court granted Defendants’ motion to dismiss Plaintiffs’

                                   9   nationwide unjust enrichment claims without leave to amend. ECF No. 183.
                                                Plaintiffs’ Motion for Class Certification was initially filed on August 7, 2015. ECF No.
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                                       145. Before briefing could commence on the motion, Plaintiffs also moved for leave to file a
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                                       Third Amended Complaint. ECF No. 149. On August 25, 2015, the Court granted leave to
                                  12
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                                       amend, ECF No. 155, and subsequently stayed briefing on the Motion for Class Certification until
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                                       responsive motions to the Third Amended Complaint were resolved. ECF No. 157. Once briefing
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                                       resumed, Plaintiffs filed a supplemental brief in support of their Motion for Class Certification on
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                                       March 10, 2016, ECF No. 196, Defendants filed their response on April 22, 2016, ECF No. 220,
                                  16
                                       and Plaintiffs filed their reply on July 18, 2016, ECF No. 269.
                                  17
                                                Defendants have also filed Motions to Strike the opinions of two of Plaintiffs’ experts, Dr.
                                  18
                                       Michael DiBartolomeis and Dr. Susan Kegley. ECF Nos. 227, 228. These motions are addressed
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                                       in a separate order.
                                  20
                                       II.      JURISDICTION
                                  21
                                                Pursuant to the Class Action Fairness Act, the Court has jurisdiction over this case, as a
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                                       class action in which a member of the class of plaintiffs is a citizen of a state different from any
                                  23
                                       defendant, there are more than 100 class members nationwide, and the matter in controversy
                                  24
                                       exceeds the sum of $5 million, exclusive of interest and costs. 28 U.S.C. § 1332(d). Defendants
                                  25
                                       do not contest jurisdiction.
                                  26
                                       III.     LEGAL STANDARD
                                  27
                                                Class certification under Rule 23 is a two-step process. First, a plaintiff must demonstrate
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                                                                                          2
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                                   1   that the numerosity, commonality, typicality, and adequacy requirements of Rule 23(a) are met:

                                   2   “One or more members of a class may sue or be sued as representative parties on behalf of all

                                   3   members only if (1) the class is so numerous that joinder of all members is impracticable; (2) there

                                   4   are questions of law or fact common to the class; (3) the claims or defenses of the representative

                                   5   parties are typical of the claims or defenses of the class; and (4) the representative parties will

                                   6   fairly and adequately protect the interests of the class.” Fed. R. Civ. Pro. 23(a). “Class

                                   7   certification is proper only if the trial court has concluded, after a ‘rigorous analysis,’ that Rule

                                   8   23(a) has been satisfied.” Wang v. Chinese Daily News, Inc., 709 F.3d 829, 833 (9th Cir. 2013)

                                   9   (quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 351, 131 S. Ct. 2541, 2551 (2011)).
                                               Second, a plaintiff must also establish that one of the bases for certification in Rule 23(b) is
                                  10
                                       met. Here, Plaintiffs invoke Rule 23(b)(3), which requires that Plaintiffs show both
                                  11
                                       “predominance” and “superiority”: that the presence of “questions of law or fact common to class
                                  12
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                                       members predominate over any questions affecting only individual members, and . . . [that] a class
                                  13
                                       action is superior to other available methods for fairly and efficiently adjudicating the
                                  14
                                       controversy.” Fed. R. Civ. Pro. 23(b)(3).
                                  15
                                               The party seeking class certification bears the burden of demonstrating by a preponderance
                                  16
                                       of the evidence that all four requirements of Rules 23(a) and at least one of the three requirements
                                  17
                                       under Rule 23(b) are met. See Dukes, 131 S. Ct. at 2551 (“A party seeking class certification
                                  18
                                       must affirmatively demonstrate his compliance with the Rule—that is, he must be prepared to
                                  19
                                       prove that there are in fact sufficiently numerous parties, common questions of law or fact, etc.”).
                                  20
                                       In ruling on class certification, courts do not consider the merits of the plaintiffs’ claims.
                                  21
                                       Keilholtz v. Lennox Hearth Products Inc., 268 F.R.D. 330, 335 (N.D. Cal. 2010). Courts “must
                                  22
                                       take the substantive allegations of the complaint as true” but “need not accept conclusory or
                                  23
                                       generic allegations regarding the suitability of the litigation for resolution through class action.”
                                  24
                                       Id. (citations omitted).
                                  25
                                               In addition, “[w]hile it is not an enumerated requirement of Rule 23, courts have
                                  26
                                       recognized that ‘in order to maintain a class action, the class sought to be represented must be
                                  27
                                       adequately defined and clearly ascertainable.’” Vietnam Veterans of Am. v. C.I.A., 288 F.R.D.
                                  28
                                                                                           3
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                                   1   192, 211 (N.D. Cal. 2012) (quoting DeBremaecker v. Short, 433 F.2d 733, 734 (5th Cir. 1970)).

                                   2   IV.    ANALYSIS

                                   3          Plaintiffs seek certification for the following class:

                                   4          All persons who purchased, not for resale, a Tempur-Pedic mattress or pillow in the
                                              States of California, Illinois, Maryland, Massachusetts, Missouri, New Jersey, New
                                   5          Mexico, New York, Wisconsin and Washington from January 1, 2006, through
                                              December 31, 2013.
                                   6
                                              Excluded from the Class are: (i) Defendants, any entity in which Defendants have a
                                   7          controlling interest or which has a controlling interest in Defendants, and
                                              Defendants’ legal representatives, predecessors, successors, and assigns; (ii)
                                   8          governmental entities; (iii) Defendants’ employees, officers, directors, agents and
                                              representatives and their direct family members; (iv) the Judge and staff to whom
                                   9          this case is assigned and any member of the Judge’s immediate family; (v) all those
                                              who validly and timely opt-out of the certified class; and (vi) claims for physical
                                  10          injuries.
                                  11   ECF No. 145 at 10.2
                                  12          Defendants challenge certification on several grounds. They allege that the claims of
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                                  13   named Plaintiffs are not typical of the claims of the class; that Plaintiffs’ state-law claims require

                                  14   proof of individual reliance; and that there is insufficient evidence that class members were

                                  15   exposed to a long-term, nationwide advertising campaign such that a presumption of class-wide

                                  16   reliance would be appropriate.

                                  17          The Court examines the relevant Rule 23 elements in turn.

                                  18          A.      Numerosity

                                  19          Plaintiffs contend that the proposed class will likely number “in the thousands, or hundreds

                                  20   of thousands.” ECF No. 145 at 24. Defendants do not dispute this prong. The Court concludes

                                  21   that Plaintiffs meet the numerosity requirement.

                                  22          B.      Typicality and Adequacy

                                  23          Typicality ensures that “the interests of the named representatives align with the interests

                                  24   of the class.” Wolin v. Jaguar Land Rover N. Am. LLC, 617 F.3d 1168, 1175 (9th Cir. 2010).

                                  25   “The test of typicality ‘is whether other members have the same or similar injury, whether the

                                  26   action is based on conduct which is not unique to the named plaintiffs, and whether other class

                                  27
                                       2
                                  28    Page references are to the internal page numbers affixed by the Court’s electronic docketing
                                       system.
                                                                                       4
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                                   1   members have been injured by the same course of conduct.’” Hanon v. Dataproducts Corp., 976

                                   2   F.2d 497, 508 (9th Cir. 1992) (quoting Schwartz v. Harp, 108 F.R.D. 279, 282 (C.D. Cal. 1985).

                                   3   “[T]ypicality is primarily an inquiry into alignment of interest rather than an investigation into the

                                   4   forms of relief for which the named plaintiff has prayed.” Gaudin v. Saxon Mortgage Servs., Inc.,

                                   5   297 F.R.D. 417, 426 (N.D. Cal. 2013).

                                   6          “The adequacy of representation requirement . . . requires that two questions be addressed:

                                   7   (a) do the named plaintiffs and their counsel have any conflicts of interest with other class

                                   8   members and (b) will the named plaintiffs and their counsel prosecute the action vigorously on

                                   9   behalf of the class?” In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 462 (9th Cir. 2000). “The

                                  10   adequacy-of-representation requirement ‘tend[s] to merge’ with the commonality and typicality

                                  11   criteria of Rule 23(a).” Amchem Products, Inc. v. Windsor, 521 U.S. 591, 626, n. 20 (1997)

                                  12   (quoting Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 158, n. 13 (1982)). Among other functions,
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                                  13   these requirements serve as ways to determine whether “the named plaintiff’s claim and the class

                                  14   claims are so interrelated that the interests of the class members will be fairly and adequately

                                  15   protected in their absence.” Falcon, 457 U.S. at 158, n. 13.

                                  16          Plaintiffs contend that the typicality requirement is met because the named Plaintiffs, like

                                  17   the rest of the class, were exposed to Defendants’ marketing regarding the safety of their

                                  18   mattresses. Plaintiffs contend that “Defendants’ tightly controlled and scripted [m]arketing

                                  19   [c]ampaign contained materially false affirmative representations through a wide variety of media

                                  20   outlets . . ., sales training programs and customer service scripts,” and that all named Plaintiffs

                                  21   were exposed to that marketing campaign. ECF No. 145 at 13, 21. “Given that the focus of the

                                  22   asserted claims is the conduct of the Defendants, including the material omissions, the Plaintiffs’

                                  23   claims are not based on any conduct that is unique to them. Each of the named Plaintiffs have

                                  24   affirmatively stated that they were exposed to the Defendants’ [m]arketing [c]ampaign and that

                                  25   had they known the truth, they would not have purchased the Tempur-Pedic product or would not

                                  26   have paid the price that they paid.” Id. at 21. Plaintiffs acknowledge that the “named Plaintiffs or

                                  27   Class Members here may not have seen every aspect of the Defendants’ [m]arketing [c]ampaign or

                                  28   . . . have relied upon any or all of the Defendants’ affirmative misrepresentations,” but argue that
                                                                                          5
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                                   1   this fact is irrelevant. Id. at 20. Regarding adequacy, Plaintiffs argue that because counsel for the

                                   2   named Plaintiffs have “substantial experience in matters of this type and have no conflicts of

                                   3   interest,” the Plaintiffs are adequate representatives for the class. Id. at 24.

                                   4           In response, Defendants first contend that Plaintiffs are neither typical nor adequate

                                   5   because their statements in deposition contradict their claims in prior declarations. Specifically,

                                   6   Defendants contend that in 2015, each of the named Plaintiffs submitted a declaration stating they

                                   7   saw or remember seeing certain marketing materials, but that in depositions taken in 2016,

                                   8   Plaintiffs’ testimony demonstrated that “these declarations were not entirely truthful, and in fact

                                   9   many of the Plaintiffs never saw the materials they claimed led to their decision to purchase.”

                                  10   ECF No. 220 at 19. Defendants contend that the declarations must therefore be struck under the

                                  11   Ninth Circuit’s “sham affidavit” rule and further that Plaintiffs are not adequate representatives

                                  12   and are not typical. Id. at 19, 50-51.
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                                  13           The sham affidavit rule does not apply here. That rule states the principle “that a party

                                  14   cannot create a genuine issue of fact sufficient to survive summary judgment simply by

                                  15   contradicting his or her own previous sworn statement.” Cleveland v. Policy Mgmt. Sys. Corp.,

                                  16   526 U.S. 795, 806 (1999); Van Asdale v. Int'l Game Tech., 577 F.3d 989, 998 (9th Cir. 2009)

                                  17   (“[A]s we have explained, if a party who has been examined at length on deposition could raise an

                                  18   issue of fact simply by submitting an affidavit contradicting his own prior testimony, this would

                                  19   greatly diminish the utility of summary judgment as a procedure for screening out sham issues of

                                  20   fact.”). This is a motion for class certification, not summary judgment. Inconsistent testimony by

                                  21   a party might be relevant to the question of credibility, but it is not grounds for automatically

                                  22   striking the testimony.

                                  23           Defendants’ second and more substantive contention is that while Plaintiffs previously

                                  24   stated that they remember seeing the various marketing materials at issue in this case, their

                                  25   deposition testimony in fact indicates they do not have that recollection. 3 See ECF No. 220 at 21.

                                  26
                                       3
                                  27     It is worth noting that Plaintiffs offer virtually no argument on this issue within the bounds of
                                       their reply brief itself, but instead provide it in a sixty-five page “appendix.” ECF No. 269-1.
                                  28   That appendix is presented as a chart consisting of three columns: quotations from Defendants’
                                       response brief, citations to relevant deposition testimony, and Plaintiffs’ own argumentative
                                                                                             6
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                                   1   This, too, is unpersuasive. While the lack of recollection might somewhat undermine the

                                   2   credibility of a plaintiff’s testimony, Defendants do not explain how it renders any of the Plaintiffs

                                   3   atypical. In fact, Defendants do not even make their arguments with regard to a particular

                                   4   Plaintiff. They merely mash together deposition references and argue that the Plaintiffs’ testimony

                                   5   considered as a whole is suspect. See ECF No. 220 at 21-23, 24 (“The inferences that can be

                                   6   drawn from this testimony are not good.”). What this has to do with typicality, Defendants do not

                                   7   say.

                                   8          Defendants’ remaining arguments are equally unpersuasive. They contend that the named

                                   9   Plaintiffs are not typical because Plaintiffs only bought certain models of Defendants’ products,

                                  10   but Plaintiffs seek “to certify a single class of purchasers of 30 separate and distinct mattress

                                  11   models.” ECF No. 220 at 52. Typicality in this context does not require that named plaintiffs and

                                  12   the class have purchased identical products. In the Ninth Circuit, “[t]he test of typicality ‘is
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                                  13   whether other members have the same or similar injury, whether the action is based on conduct

                                  14   which is not unique to the named plaintiffs, and whether other class members have been injured by

                                  15   the same course of conduct.’” Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992)

                                  16   (quoting Schwartz v. Harp, 108 F.R.D. 279, 282 (C.D.Cal.1985)) (emphasis added). Thus, in Lilly

                                  17   v. Jamba Juice Co., 308 F.R.D. 231 (N.D. Cal. 2014), the Court certified a class of “smoothie kit”

                                  18   purchasers, even though the named plaintiffs had not purchased all of the various smoothie kits

                                  19   offered by the defendant, because the alleged misrepresentation was the same as to each kit. Id.at

                                  20   240. Similarly here, Plaintiffs’ theory of the case is that Defendants falsely represented that all of

                                  21

                                  22   responses. It is difficult to view this appendix as anything other than an unsubtle vehicle for
                                       deliberately circumventing the page limits imposed on the parties’ briefing.
                                  23
                                       Defendants have embraced the same strategy. As discussed below, Defendants argue that several
                                  24   states’ consumer protection laws require a showing of individualized reliance and/or causation of
                                       harm, but rather than using up space in their opposition brief, they simply refer the Court to a
                                  25   thirty-three page “appendix” that is not contained within the four corners of their opposition brief.
                                       That appendix, though presented as a chart of “variations” in state law, in fact includes numerous
                                  26   legal assertions based upon Defendants’ own interpretations of case law. ECF No. 220-2.
                                       Moreover, Defendants appear to have intentionally violated the Court’s formatting requirements,
                                  27   pursuant to Civil L.R. 3-4(c)(2) for minimum spacing between lines of text, in order to pack even
                                       more text into an already over-length brief.
                                  28
                                       These stratagems violate the Court’s rules and diminish the effectiveness of the parties’ advocacy.
                                                                                        7
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                                   1   their products are free of harmful chemicals when in fact, none of them are. Slight differences

                                   2   between the mattresses purchased by class members are not disqualifying, or even relevant.

                                   3          Next, Defendants contend that Mr. and Mrs. Todd and Mrs. Simmons are subject to the

                                   4   unique defenses of prior knowledge, and that Mrs. White is subject to a unique defense because

                                   5   she accepted an offer for a replacement mattress from Defendants. ECF No. 220 at 53. Where a

                                   6   named plaintiff is subject to unique defenses, she may not be typical of the class. Hanon v.

                                   7   Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992). Defenses unique to a class representative

                                   8   counsel against class certification, however, only where they “threaten to become the focus of the

                                   9   litigation.” Id. (internal quotation marks and citation omitted). Even assuming the merits of

                                  10   Defendants’ proposed defenses, none of them meets this standard.

                                  11          Finally, Defendants contend Plaintiffs are not adequate because they engage in “claim

                                  12   splitting,” or “elect[ing] to pursue only select claims rather than all meaningful claims, thus
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                                  13   putting at risk the valid claims of absent class members.” Amaro v. Gerawan Farming, Inc., No.

                                  14   114CV00147DADSAB, 2016 WL 3924400, at *14 (E.D. Cal. May 20, 2016). Here, Defendants

                                  15   contend that Plaintiffs, by declining to pursue claims for personal injuries caused by Defendants’

                                  16   products, are inadequately representing those class members who may have potentially valid

                                  17   personal injury actions. ECF No. 220 at 50. A strategic decision to pursue those claims a plaintiff

                                  18   believes to be most viable does not render her inadequate as a class representative. See In re

                                  19   Conseco Life Ins. Co. LifeTrend Ins. Sales & Mktg. Litig., 270 F.R.D. 521, 532 (N.D. Cal. 2010)

                                  20   (“Plaintiffs are permitted to press a theory of contract liability that affords them the best chance of

                                  21   certification and of success on behalf of the class.”); In re Universal Serv. Fund Tel. Billing

                                  22   Practices Litig., 219 F.R.D. 661, 669 (D. Kan. 2004) (“This is not a case where the class

                                  23   representatives are pursuing relatively insignificant claims while jeopardizing the ability of class

                                  24   members to pursue far more substantial, meaningful claims. Rather, here the named plaintiffs

                                  25   simply decided to pursue certain claims while abandoning a fraud claim that probably was not

                                  26   certifiable.”).4 Here, the Court cannot conclude that Plaintiffs’ decision to pursue these particular

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                                       4
                                  28    But see Krueger v. Wyeth, Inc., No. 03CV2496 JLS (AJB), 2008 WL 481956, at *3 (S.D. Cal.
                                       Feb. 19, 2008) (denying certification where named plaintiff did not bring personal injury claims
                                                                                      8
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                                   1   claims renders them inadequate representatives.

                                   2           For these reasons, the Court concludes that the typicality and adequacy prongs have been

                                   3   met.

                                   4           C.      Commonality and Predominance

                                   5           As regards commonality, “for purposes of Rule 23(a)(2) [e]ven a single [common]

                                   6   question will do.” Dukes, 131 S. Ct. at 2556 (internal citation omitted). Where questions

                                   7   common to class members present significant issues that can be resolved in a single adjudication

                                   8   “there is clear justification for handling the dispute on a representative rather than on an individual

                                   9   basis.” Amchem, 521 U.S. at 623 (internal quotation marks and citation omitted). However, the

                                  10   common contention “must be of such a nature that it is capable of classwide resolution—which

                                  11   means that determination of its truth or falsity will resolve an issue that is central to the validity of

                                  12   each one of the claims in one stroke.” Dukes, 131 S. Ct. at 2551.
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                                  13           In seeking to certify a Rule 23(b)(3) class, Plaintiff must further show that these common

                                  14   questions “predominate over any questions affecting only individual members.” “Considering

                                  15   whether questions of law or fact common to class members predominate begins . . . with the

                                  16   elements of the underlying causes of action.” Erica P. John Fund, Inc. v. Halliburton Co., 563

                                  17   U.S. 804, 809 (2011). In determining whether common questions predominate, the Court

                                  18   identifies the substantive issues related to the plaintiff’s claims (both the causes of action and

                                  19   affirmative defenses), and then considers the proof necessary to establish each element of the

                                  20   claim or defense, and how these issues would be tried. See Schwarzer, et al., Cal. Prac. Guide Fed.

                                  21   Civ. Pro. Before Trial Ch. 10–C § 10:412. “When common questions present a significant aspect

                                  22   of the case and they can be resolved for all members of the class in a single adjudication, there is

                                  23   clear justification for handling the dispute on a representative rather than an individual basis.”

                                  24   Hanlon, 150 F.3d at 1022 (citing Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal

                                  25   Practice & Procedure § 1778 (2d ed.1986)). The predominance inquiry requires that the plaintiffs

                                  26   demonstrate that common questions predominate as to each cause of action for which the plaintiffs

                                  27

                                  28
                                       on behalf of the class).
                                                                                           9
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                                   1   seek class certification. Amchem, 521 U.S. at 620.

                                   2          Plaintiffs argue that the dominant issues in this case can be resolved through common

                                   3   proof. These include that “the affirmative misrepresentations made by Tempur-Pedic about its

                                   4   products are false,” that “the Defendants knew those representations were false,” and that

                                   5   “Tempur-Pedic failed to inform consumers” regarding the alleged harmful chemicals contained in

                                   6   its products. ECF No. 145 at 27. Plaintiffs contend that the elements of materiality of, and

                                   7   reliance on, the alleged misrepresentations will be resolved through common proof because all of

                                   8   the states involved in the case require a showing that a “reasonable, objective person would have

                                   9   considered the Defendants’ representations and/or omissions material.” ECF No. 145 at 32

                                  10   (emphasis in original). Plaintiffs therefore argue that the inquiry will focus on Defendants’

                                  11   conduct, not on individual Plaintiffs or class members, and will be litigated primarily on a class-

                                  12   wide level. See id. at 31-33. Similarly, they argue that their unjust enrichment claims “require
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                                  13   resolution of substantially the same question – whether the Defendants received some benefit from

                                  14   the Plaintiffs and Class Members that it would be inequitable to allow them to keep in light of

                                  15   their conduct.” Id. at 47. Finally, Plaintiffs contend that damages will be provable on a class-wide

                                  16   level through the use of conjoint analysis, as explained by their expert, Dr. Peter Rossi. Id. at 53.

                                  17   That analysis, which Plaintiffs argue is widely accepted by district courts, will enable Plaintiffs to

                                  18   measure “the price premium attributable to the Defendants’ affirmative misrepresentations and

                                  19   omissions,” thus calculating the difference between the product as represented and as received. Id.

                                  20   at 51-54.

                                  21          Defendants offer two main arguments in response: (1) that Plaintiffs must prove

                                  22   individualized reliance, making class treatment inappropriate; and (2) that even if proof of

                                  23   individualized reliance is unnecessary, Plaintiffs have not demonstrated that the class was exposed

                                  24   to the challenged marketing materials. While the former argument is a misstatement of relevant

                                  25   law and therefore unpersuasive, the latter argument is accurate. The Court concludes that

                                  26   Plaintiffs have failed to show that class members as a group were exposed to the alleged

                                  27   misrepresentations, and accordingly cannot demonstrate commonality or predominance.

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                                                                                         10
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                                   1                     1.    State Law Regarding Individualized Reliance

                                   2             Defendants first contend that four states – California, Maryland, Washington, and

                                   3   Wisconsin – require proof of individualized reliance rather than a general showing that an

                                   4   objective consumer would be misled. ECF No. 220 at 27. In their brief, they neither offer

                                   5   analysis on this point nor engage with Plaintiffs’ cited authority, but instead direct the Court to an

                                   6   appendix, which lists cases that Defendants assert support their arguments.5

                                   7             Having reviewed the competing law offered by both parties, the Court concludes

                                   8   Defendants have misrepresented the law of all four states. With regard to California, this Court

                                   9   has previously held that for false misrepresentation claims, “an inference of common reliance

                                  10   arises if representations are material, and materiality is judged by an objective standard rather than

                                  11   any understandings specific to the individual consumer.” Lilly v. Jamba Juice Co., 308 F.R.D.

                                  12   231, 242 (N.D. Cal. 2014). The Ninth Circuit has reached the same conclusion. See, e.g., Stearns
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                                  13   v. Ticketmaster Corp., 655 F.3d 1013, 1020 (9th Cir. 2011) (The change in California law

                                  14   “decidedly did not change the California rule that relief under the UCL is available without

                                  15   individualized proof of deception, reliance and injury.” (citation omitted)) abrogated on other

                                  16   grounds by Comcast Corp. v. Behrend, 133 S. Ct. 1426 (2013). Defendants’ appendix cites to

                                  17   three cases: Bruton v. Gerber Products Co., No. 12-CV-02412-LHK, 2014 WL 172111, at *6

                                  18   (N.D. Cal. Jan. 15, 2014); In re Actimmune Mktg. Litig., No. C 08-CV-2376 MHP, 2010 WL

                                  19   3463491, at *8 (N.D. Cal. Sept. 1, 2010); and Philips v. Ford Motor Co., No. 14-CV-02989-LHK,

                                  20   2015 WL 4111448, at *13 (N.D. Cal. July 7, 2015). None of these cases stands for the proposition

                                  21   that reliance must be proven for each class member as opposed to by reference to a reasonable or

                                  22   objective consumer. See, e.g., Bruton, 2014 WL 172111 at *7 (“A plaintiff may establish that the

                                  23   defendant’s misrepresentation is an immediate cause of the plaintiff’s conduct by showing that in

                                  24   its absence the plaintiff in all reasonable probability would not have engaged in the injury-

                                  25   producing conduct.” (emphasis added) (citation omitted)).

                                  26             Regarding Maryland, Defendants’ appendix cites to one case, Philip Morris, Inc. v.

                                  27

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                                           See supra fn. 3.
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                                   1   Angeletti, 752 A.2d 200, 235 (Md. 2000), and assert that the holding of that case is that

                                   2   “[i]ndividual reliance is likely required.” ECF No. 220-2 at 7. But the portion of the case cited by

                                   3   Defendants discusses claims for common law fraud and negligent misrepresentation, rather than

                                   4   claims under the Maryland Consumer Protection Act. Moreover, the Angeletti court does not

                                   5   conclude that individualized proof of reliance is generally required, but rather that it was necessary

                                   6   based on the facts of the case before it, which involved class members who purchased a variety of

                                   7   tobacco products over an unspecified period of time. See Angeletti, 752 A.2d at 206, 235.

                                   8   Finally, Defendants ignore Luskin's, Inc. v. Consumer Prot. Div., 726 A.2d 702, 713 (1999),

                                   9   which held that under the Maryland Consumer Protection Act, “it is the probability that the

                                  10   deceptive practice affected the customer’s decision that makes the misrepresentation material.”

                                  11          Defendants’ support for their Washington argument is even weaker. Their appendix cites

                                  12   to two cases, only one of which is relevant, Picket v. Holland America Line-Westours, Inc.
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                                  13   (“Picket II”), 145 Wash. 2d 178 (Wash. 2001). And, contrary to Defendants’ position here, what

                                  14   the court actually said in Pickett II was that “[w]hether individual reliance is required for causation

                                  15   under the CPA is a ‘debatable question without a clear answer under Washington law.’” 145

                                  16   Wash. 2d at 197. Two later Washington cases resolved that question in the negative. Indoor

                                  17   Billboard/Washington, Inc. v. Integra Telecom of Washington, Inc., 170 P.3d 10, 22 (Wash.

                                  18   2007); Schnall v. AT & T Wireless Servs., Inc., 259 P.3d 129, 137 (Wash. 2011). Thus, in

                                  19   Schnall, 259 P.3d at 137, the Washington Supreme Court wrote:

                                  20          The trial court found that each plaintiff would have to show individual reliance,
                                              making class certification inappropriate. [Citation omitted]. Unfortunately, the
                                  21          trial court did not have the benefit of our recent opinion in Indoor
                                              Billboard/Washington, Inc.[,] . . . where we firmly rejected the principle that
                                  22          reliance is necessarily an element of the plaintiff's case.
                                  23          Finally, with regard to Wisconsin, Defendants’ appendix cites to a case from a federal

                                  24   district court, Valente v. Sofamor, S.N.C., 48 F. Supp. 2d 862, 874 (E.D. Wis. 1999). Contrary to

                                  25   Defendants’ appendix’s assertion that the case held that “[i]ndividual reliance [is] required,” ECF

                                  26   No. 220-2 at 19, it makes no mention of individualized reliance in its discussion of Wisconsin’s

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                                   1   Deceptive Trade Practices Act.6

                                   2           In sum, the Court concludes that, under relevant state law, materiality and reliance on

                                   3   alleged misrepresentations can be proven by reference to a reasonable consumer, and therefore are

                                   4   amenable to class-wide proof. On this issue, common issues predominate.7

                                   5                  2.      Class-Wide Exposure

                                   6           While Plaintiffs need not prove individualized reliance, this alone does not entitle them to

                                   7   class certification. Separate from reliance, Plaintiffs must also prove that the class members were

                                   8   exposed to the alleged misrepresentations in the first place. See Berger v. Home Depot USA, Inc.,

                                   9   741 F.3d 1061, 1068 (9th Cir. 2014) (holding that “the question of likely deception does not

                                  10   automatically translate into a class-wide question,” and that the party seeking certification must

                                  11   show that the class was “actually exposed to the business practices at issue”); Stearns v.

                                  12   Ticketmaster Corp., 655 F.3d at 1020 (9th Cir. 2011) (“We do not, of course, suggest that
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                                  13   predominance would be shown in every California UCL case. For example, it might well be that

                                  14   there was no cohesion among the members because they were exposed to quite disparate

                                  15   information from various representatives of the defendant.”). Put another way, it means little if an

                                  16   objective, reasonable consumer would have found the alleged misrepresentations material if none

                                  17   of the class members saw, read, or were otherwise exposed to those misrepresentations.

                                  18           Plaintiffs do not define or limit their proposed class to include only consumers who saw

                                  19   the alleged misrepresentations, and they do not offer direct evidence that most or all class

                                  20   members were exposed to the challenged advertising materials. Rather, Plaintiffs’ argument

                                  21   appears to be that class-wide exposure can be inferred from the “massive advertising and brand-

                                  22   building program” and a “tightly controlled” marketing campaign conducted by Defendants. ECF

                                  23

                                  24   6
                                         As for the remaining states, Defendants acknowledge that individualized reliance is not
                                  25   necessary, but contend that “causation of harm acts as its surrogate, and is still a highly
                                       individualized inquiry.” ECF No. 220 at 27. Defendants offer no authority in support of this
                                  26   position.
                                       7
                                  27     Defendants also contend that even if individualized reliance is not a necessary element, Plaintiffs
                                       have failed to demonstrate materiality to a “reasonable” consumer. ECF No. 220 at 35, 37. This
                                  28   argument regards the merits of Plaintiffs’ class-wide argument, not whether the question could be
                                       resolved through common issues of fact.
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                                   1   No. 269; see also Transcript of August 18, 2016 Oral Argument (“Transcript”), ECF No. 282, at

                                   2   42:16-19 (describing the campaign as providing a “uniform message”). As set forth below, this

                                   3   argument is unpersuasive.

                                   4                          a.      Relevant Case Law

                                   5           Plaintiffs contend that the “Tempur-Pedic brand was supported by a massive advertising

                                   6   and brand-building program that drives consumer awareness.” ECF No. 269 at 11. They argue

                                   7   that Defendants “tightly controlled their [m]arketing [c]ampaign, undertaking to train and provide

                                   8   product training guides to each of their authorized retailers.” ECF No. 145 at 21. Plaintiffs argue

                                   9   it “is therefore quite reasonable to expect that most members of the proposed class were exposed

                                  10   to the campaign.” ECF No. 269 at 11.

                                  11           Plaintiffs cite no legal authority for this argument in their briefs, but it resembles

                                  12   arguments and holdings in other cases that rely on the In re Tobacco II Cases, 46 Cal. 4th 298
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                                  13   (2009).8 In those cases, the California Supreme Court “found that reliance on misrepresentations

                                  14   about the health hazards of cigarette smoking could be presumed because there was evidence of a

                                  15   ‘decades-long campaign of the tobacco industry to conceal the health risks of its product while

                                  16   minimizing the growing consensus regarding the link between cigarette smoking and lung cancer

                                  17   and, simultaneously, engaging in saturation advertising targeting adolescents, the age group from

                                  18   which new smokers must come.’” Id. (quoting In re Tobacco II, 46 Cal. 4th at 327). Because of

                                  19   the length and widespread nature of the tobacco advertising campaign, the court relieved plaintiffs

                                  20   of showing that class members had been exposed to any particular advertisement.

                                  21           Tobacco II’s holding has subsequently been applied to other cases in which class members

                                  22   were exposed to lengthy, widespread advertising campaigns. A recent decision in this district,

                                  23   Ehret v. Uber Techs., Inc., 148 F. Supp. 3d 884, 895 (N.D. Cal. 2015) noted that “in numerous

                                  24   cases involving claims of false[ ]advertising, class-wide exposure has been inferred because the

                                  25   alleged misrepresentation is on the packaging of the item being sold. In such a case, given the

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                                  27   8
                                        While this approach is generally used in connection with California state law claims, courts have
                                  28   extended it to similar claims in other states as well. See, e.g., Makaeff v. Trump Univ., LLC, No.
                                       3:10-CV-0940-GPC-WVG, 2014 WL 688164, at *14 (S.D. Cal. Feb. 21, 2014)
                                                                                         14
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                                   1   inherently high likelihood that in the process of buying the product, the consumer would have seen

                                   2   the misleading statement on the product and thus been exposed to it, exposure on a classwide basis

                                   3   may be deemed sufficient.” Id. Alternatively, “class-wide exposure can be inferred outside of

                                   4   product labeling cases where there is an extensive advertising campaign.” Id.

                                   5           Tobacco II, however, did not create a free pass on the question of class-wide exposure.

                                   6   Many cases have rejected an inference of class-wide exposure on stronger evidence than Plaintiffs

                                   7   present here. In Mazza v. Am. Honda Motor Co., 666 F.3d 581, 595 (9th Cir. 2012), the Ninth

                                   8   Circuit recognized the validity of Tobacco II but declined to apply that approach to the case before

                                   9   it, which involved marketing by Honda in brochures, television ads, dealership kiosks, and other

                                  10   contexts regarding their “Collision Mitigation Braking System.” The Ninth Circuit held that

                                  11   “Tobacco II’s holding was in the context of a decades-long tobacco advertising campaign where

                                  12   there was little doubt that almost every class member had been exposed to defendants’ misleading
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                                  13   statements, and defendants were not just denying the truth but representing the opposite.” Id. at

                                  14   596 (citation omitted). In Mazza, by contrast, Honda’s “product brochures and TV commercials

                                  15   fall short of the extensive and long-term fraudulent advertising campaign at issue in Tobacco II.”

                                  16   Id. (citation omitted).

                                  17           As the Ninth Circuit subsequently explained, Mazza limited the extent of Tobacco II based

                                  18   on “two crucial facts” regarding the advertising campaign at issue. Berger v. Home Depot USA,

                                  19   Inc., 741 F.3d 1061, 1068 (9th Cir. 2014). First, it referred to the “breadth” of the advertising, or

                                  20   the fact that Honda’s advertising was not sufficiently “extensive and longterm.” Id. (citing to

                                  21   Mazza, 666 F.3d at 596). Second, it also referred to the “content,” of the advertising, or the fact

                                  22   that the advertising materials “do not deny” that limitations to the challenged brake system exist.

                                  23   Id.

                                  24           Subsequent district court cases have examined efforts at class certification using the lens

                                  25   provided by Mazza and Berger. In In re Clorox Consumer Litigation, 301 F.R.D. 436, 439 (N.D.

                                  26   Cal. 2014), a district court denied class certification of claims based on alleged misrepresentations

                                  27   in a marketing campaign that a brand of cat litter was more effective at eliminating odors. The

                                  28   court noted that Clorox ran four TV commercials for only sixteen months, and that an independent
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                                   1   analysis commissioned by Clorox indicated not enough people were seeing the advertisements.

                                   2   Id. at 444. It also noted that while the plaintiffs pointed to additional statements contained on

                                   3   packaging, many of these statements were not misleading, as they stated merely that the cat litter

                                   4   contained carbon or that carbon eliminates odor, not that the cat litter eliminates odor “better” than

                                   5   other brands. Id.

                                   6           In In re NJOY, Inc. Consumer Class Action Litig., 120 F. Supp. 3d 1050, 1064 (C.D. Cal.

                                   7   2015), the district court denied class certification of claims that NJOY falsely misrepresented that

                                   8   their e-cigarette products were safer than traditional cigarettes. The district court found that the

                                   9   content of the marketing “was uniform” and that the challenged “safety messages” were contained

                                  10   in “virtually every advertisement NJOY ran.” Id. at 1105-06. However, it also concluded that the

                                  11   breadth of the advertising at issue was not sufficient to warrant class certification. It noted that

                                  12   NJOY’s print advertising campaign lasted less than a year, and its radio and television
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                                  13   commercials ran for less time than that. Id. at 1106-08.

                                  14           In Ehret, the district court considered putative class claims that Uber made

                                  15   misrepresentations when it charged its customers a 20% “gratuity” even though it kept a

                                  16   substantial portion of the fee for itself. 148 F. Supp. 3d at 887. The court concluded that the

                                  17   misrepresentations were “uniform and consistent,” rejecting Uber’s various arguments that it

                                  18   sometimes portrayed the fee as a service charge in addition to a gratuity. Id. at 899-900. But it

                                  19   also concluded that the marketing campaign was not sufficiently extensive, as “there is insufficient

                                  20   evidence that all customers during the class period were likely exposed to the misrepresentation.”

                                  21   Id. at 900. The court noted that the misrepresentations occurred only on Uber’s website and blog

                                  22   posts, not on Uber’s app interface itself. Moreover, even the relevant statements on the website or

                                  23   blog were mixed with a number of other sections “covering a whole range of topics,” therefore

                                  24   decreasing the likelihood that all visitors to the website or blog saw the alleged misrepresentations.

                                  25   Id. at 901.

                                  26           Finally, in Makaeff v. Trump University, LLC, No. 3:10-CV-0940-GPC-WVG, 2014 WL

                                  27   688164, at *1 (S.D. Cal. Feb. 21, 2014), the district court granted class certification of claims that

                                  28   Trump University made material misrepresentations in order to persuade consumers to buy
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                                   1   successively more expensive “real estate investing seminars.” Id. at 2. The plaintiffs referred to

                                   2   print advertisements with quotes from Donald Trump such as “I can turn anyone into a successful

                                   3   real estate investor, including you,” and alleged that individuals who paid for various tiers of

                                   4   seminars were promised a certain amount of education and training when, in fact, the seminars

                                   5   were merely aimed at encouraging them to buy the next tier of seminars. Id. For example,

                                   6   individuals “who paid for the Fulfillment Seminar were promised a three-day seminar and one full

                                   7   year of expert interactive support,” but actually received “a three day infomercial accompanied by

                                   8   a phone number,” at which Trump University representatives “pressured customers to raise their

                                   9   credit card limits to purchase Trump Elite Programs.” Id. at 4. Trump University also “utilized

                                  10   various forms of recognizable signs to appear to be an accredited academic institution” such as an

                                  11   official school crest, when in fact it was never accredited and was asked “by the New York Board

                                  12   of Education to cease any claim to being a ‘university.’” Id. at 5. In examining the issue of
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                                  13   predominance, the district court found that while the advertising at issue “w[as] not part of a

                                  14   massive advertising campaign,” it was “uniform, highly orchestrated, concentrated, and focused

                                  15   on its intended audience.” Id. at 13. It also noted that the nature of the product and “the effect of

                                  16   this campaign” made it “highly likely” that anyone who paid for and attended the “real estate

                                  17   investment seminars” likely did so based on Trump University’s targeted campaign. Id.; see also

                                  18   In re NJOY, 120 F. Supp. 3d at 1109 (“[The nature of the product—real estate investment

                                  19   seminars—made it likely that those who actually purchased the seminars saw the advertisements.”

                                  20   (citing Makaeff, 2014 WL 688164, at *13).

                                  21                          b.      Application

                                  22          The Court previously dealt with this issue in its April 16, 2014 Order denying Defendants’

                                  23   Motion to Dismiss. In that motion, Defendants contended that Plaintiffs had not pleaded a

                                  24   plausible claim because “they ha[d] not alleged that each of them viewed the advertisements at

                                  25   issue.” ECF No. 50 at 9. Though the Court concluded it was “a close call,” it held, based on the

                                  26   Tobacco II case, that Plaintiffs’ claims were plausible because they had pleaded that there was an

                                  27   extensive and long-term marketing campaign through a variety of media. Id. at 10.

                                  28          The question presented here is different. The inquiry is no longer whether Plaintiffs have
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                                   1   merely pleaded a plausible claim under Rule 12(b)(6), but rather whether they have shown the

                                   2   existence of such a campaign. Having now reviewed the complete body of evidence offered by

                                   3   Plaintiffs in support of class certification, the Court finds they have failed to demonstrate the

                                   4   marketing at issue was sufficiently extensive such that one can infer exposure on a class-wide

                                   5   basis.

                                   6            As support for their claim that Defendants used a “tightly controlled and scripted

                                   7   [m]arketing [c]ampaign,” Plaintiffs assert that “Tempur-Pedic produced more than 300 million

                                   8   pages of ‘targeted content’ (direct mail) each year, and generated more than 25 million page views

                                   9   per year on its website.” ECF No. 145 at 13. They also state that “Tempur-Pedic’s marketing

                                  10   efforts were supported by a call center,” id. at 13-14, and provide numerous exhibits to the Court

                                  11   of responses by customer service representatives to customer complaints. They add that “Tempur-

                                  12   Pedic trained or assisted in the training of its retailers (‘Tempur University’); prepared Product
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                                  13   Training Guides throughout the Class Period to which retailers and their own direct sales

                                  14   employees were to refer when responding to consumers’ questions; and provided templates and

                                  15   preapproved ad layouts for its retailers.” Id. at 13-14. They allege that the effect of this campaign

                                  16   was that “Tempur-Pedic drove over 4.3 billion consumer impressions per month, with 2.8 billion

                                  17   of those generated from television, 600 million from radio, and 80 million from newspapers.” Id.

                                  18   at 13.

                                  19            This evidence falls far short of demonstrating the “extensive” and “longstanding”

                                  20   marketing campaigns needed to justify class certification. Plaintiffs’ most-touted statistic – that

                                  21   Defendants’ advertising generated “4.3 billion consumer impressions per month” – in actuality

                                  22   offers little evidentiary support. The figure appears to be taken from a single slide from a 2007

                                  23   PowerPoint presentation intended for investors, see ECF No. 145 at 13 n.1; see also ECF No. 194-

                                  24   3 at 17, but neither the presentation nor Plaintiffs explain (i) what the definition of an

                                  25   “impression” is; (ii) how “impressions” are measured; or (iii) whether the period of time that these

                                  26   “impressions” were calculated overlaps with the applicable time period for the class. There is no

                                  27   evidence concerning which representations, if any, led to these “consumer impressions.” Nor do

                                  28   Plaintiffs apportion out which of these impressions were based on the alleged health-related
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                                   1   misrepresentations, as opposed to the myriad of other claims that Defendants made in advertising

                                   2   their products – such as those related to comfort, durability, support, customer recommendations,

                                   3   and so forth. Finally, Plaintiffs do not attempt to estimate how many of these “impressions”

                                   4   eventually led to purchases of a Tempur-Pedic product, such that they could be relevant to a class

                                   5   that consists only of customers who ultimately bought one of Defendants’ products.

                                   6          The same problems apply to Plaintiffs’ contention that “300 million pages” of “targeted

                                   7   content (direct mail)” was produced by Defendants. Plaintiffs do not define “targeted content,”

                                   8   describe what kinds of statements were contained in the mailings or who received them, or offer

                                   9   any reason to assume that consumers actually viewed any of the content or were likely to have

                                  10   done so. Likewise, while Plaintiffs cite to “25 million page views per year” on Defendants’

                                  11   website, they decline to specify how many of those views were of webpages that included alleged

                                  12   misrepresentations. At oral argument, Defendants represented that just 0.018 percent of visitors
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                                  13   to Tempur-Pedic’s website viewed pages with the challenged representations. Transcript at 25:7;

                                  14   see also Ehret, 148 F. Supp. 3d at 901 (rejecting similar contentions regarding alleged

                                  15   misrepresentations on a company webpage and blog because many other topics were also

                                  16   discussed on those websites). Plaintiffs do not challenge this figure.

                                  17          Plaintiffs also rely unpersuasively on representations allegedly made to customers during

                                  18   customer service calls. To begin, it is unclear whether these calls or other responses to Tempur-

                                  19   Sealy customers are relevant, given that they likely occurred after a customer had already

                                  20   purchased a Tempur-Sealy product. More importantly, Plaintiffs once again fail to specify what

                                  21   portion of these customer service calls were related to complaints or statements regarding

                                  22   chemicals or off-gassed emissions, as opposed to other concerns or issues. Defendants stated at

                                  23   oral argument that the portion of callers who complained about odors or gasses was approximately

                                  24   half of one percent, Transcript at 29:22, and Plaintiffs did not rebut that figure. Finally, Plaintiffs

                                  25   have provided no evidence of a uniform response to customer complaints about gasses or

                                  26   chemicals.

                                  27          Beyond this catalog of problems with Plaintiffs’ evidence, there are two broader flaws with

                                  28   their theory regarding classwide exposure. First, as Defendants note, it cannot be assumed that
                                                                                          19
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                                   1   mattress customers buy a product based on any particular marketing representation that they

                                   2   viewed or heard prior to their purchase. Indeed, many mattress consumers – including,

                                   3   potentially, some of the named Plaintiffs – likely entered a store with no specific idea of the brand

                                   4   or product they wish to buy, and make their purchase based simply on their impressions while

                                   5   shopping. See, e.g., Transcript at 31:21-23 (“Another woman was at the state fair, and there was a

                                   6   tent there, and she lay down on the mattress and decided [to] buy Tempur-Pedic.”). This contrasts

                                   7   with cases challenging advertising directly on the product’s packaging, such that one could infer

                                   8   anyone who bought that product also viewed the package, see Ehret, 148 F. Supp. 3d at 895, or the

                                   9   real estate “seminars” at issue in Makaeff v. Trump University, 2014 WL 688164, at *13, which

                                  10   were unique enough that the court could infer that participants were present only because they had

                                  11   been recruited through Trump University’s advertising.

                                  12          Second, Defendants note that the vast majority of their products – more than 90% – are
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                                  13   sold by “over 10,000” third-party retailers. ECF No. 220 at 33. Thus, even if Plaintiffs were able

                                  14   to show that Defendants disseminated a uniform marketing campaign based around the alleged

                                  15   misrepresentations, they would need to demonstrate that third party retailers actually implemented

                                  16   that campaign by showing Defendants’ materials to class members. On this crucial point,

                                  17   however, Plaintiffs provide virtually no evidence. They assert that Defendants “trained or assisted

                                  18   in the training of its retailers” and “provided templates and preapproved layouts for its retailers,”

                                  19   but they do not attempt to show how many retailers received this assistance from Defendants, or

                                  20   whether any retailers made use of Defendants’ training, templates, or layouts. ECF No. 145 at 13-

                                  21   14. Indeed, it appears that retailers were under no obligation to use any materials provided by

                                  22   Defendants, and Defendants have offered declarations from two independent retailers stating that

                                  23   they “do not follow manufacturers’ suggestions on how to sell mattresses,” as doing so would be

                                  24   counterproductive to distinguishing themselves from their competitors who sell the same products.

                                  25   ECF No. 221-6 at ¶¶ 5, 14; see also ECF No. 221-7 at ¶¶ 4-5 (“No mattress retailer I’ve worked

                                  26   for adopted any manufacturer’s suggestions for selling the manufacturer’s mattresses. Each

                                  27   retailer has several manufacturers’ products in each store.”).

                                  28          In sum, though Plaintiffs contend that Defendants ran a uniform, extensive marketing
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                                   1   campaign that communicated the alleged misrepresentations to the class, they offer little more than

                                   2   conclusory statements to show that class members received them. Plaintiffs are able to prove

                                   3   neither that Defendants’ marketing was sufficiently extensive to reach most of the class, nor that it

                                   4   was sufficiently uniform in its use of the alleged misrepresentations. Plaintiffs have not put forth

                                   5   evidence that would allow an inference of class-wide reliance.

                                   6                  3.      Omissions and Unjust Enrichment

                                   7          Plaintiffs premise their misrepresentation by omission and unjust enrichment claims on the

                                   8   same alleged marketing campaign, and make the same arguments in relation to class certification.

                                   9   See ECF No. 145 at 14 (“Thus, this is both a material affirmative representations and material

                                  10   omissions case.”); id. at 47 (“As for the claims advanced by the Plaintiffs for unjust enrichment,

                                  11   those claims require resolution of substantially the same question.”). Accordingly, for the reasons

                                  12   outlined in the previous section, the Court concludes that common issues of fact do not
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                                  13   predominate for these claims.

                                  14          For all of these reasons, the Court concludes Plaintiffs have not demonstrated they meet

                                  15   the predominance requirement under Rule 23(b)(3). Even acknowledging Plaintiffs’ argument

                                  16   that they would not need to prove individualized reliance, and even assuming, for the sake of

                                  17   argument, that Plaintiffs’ theory for proving class-wide damages was sufficient, the need to

                                  18   individually decide whether class members had been exposed to the alleged misrepresentations

                                  19   would dominate over other commonly shared issues of law or fact. In light of this conclusion, the

                                  20   Court does not reach the parties’ disputes regarding Plaintiffs’ argument for a conjoint analysis of

                                  21   damages.

                                  22          D.      Ascertainability

                                  23          “A class definition is sufficient if the description of the class is definite enough so that it is

                                  24   administratively feasible for the court to ascertain whether an individual is a member.” Lilly v.

                                  25   Jamba Juice Co., 308 F.R.D. 231, 237 (N.D. Cal. 2014). Plaintiffs contend that all class members,

                                  26   like the Plaintiffs themselves, purchased one of Defendants’ products, and that these purchases can

                                  27   be verified through retail records. ECF No. 145 at 18.

                                  28          Defendants argue that Plaintiffs “attempt to gloss over ascertainability issues” by including
                                                                                          21
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                                   1   consumers of any Tempur-Pedic product even though the alleged misrepresentations about, and

                                   2   the harms resulting from, each product may be different. ECF No. 220 at 61-62. This is an

                                   3   argument about predominance, not ascertainability. See Kurihara v. Best Buy Co., No. C 06-

                                   4   01884 MHP, 2007 WL 2501698, at *5 (N.D. Cal. Aug. 30, 2007) (“When rejecting class

                                   5   certification based on overbreadth, however, the problem lies in the court’s ability to ascertain the

                                   6   class, not whether the putative classmembers have been aggrieved.”).

                                   7          Defendants also argue that the class is overbroad because it does not differentiate between

                                   8   the different lengths of statutes of limitations for the various states. They argue that if the class is

                                   9   certified, the period for each state subclass should be limited by their respective statutes of

                                  10   limitations. Once again, this argument does not concern ascertainability.

                                  11          The Court concludes that the class is ascertainable.

                                  12          E.      Superiority
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                                  13          A class action must be “superior to other available methods for fairly and efficiently

                                  14   adjudicating the controversy.” Fed. R. Civ. Pro. 23(b)(3). “The superiority inquiry under Rule

                                  15   23(b)(3) requires determination of whether the objectives of the particular class action procedure

                                  16   will be achieved in the particular case.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1023 (9th Cir.

                                  17   1998). Though the nature of the litigation and the size of the class suggest that classwide

                                  18   resolution might be preferable, all else being equal, the Court has also concluded that resolving

                                  19   Plaintiffs’ claims would require a highly individualized inquiry into each class member’s exposure

                                  20   to Defendants’ advertising. Accordingly, it concludes that a class action would not be a superior

                                  21   mechanism for resolving this dispute.

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                                           Case 3:13-cv-04984-JST Document 284 Filed 09/30/16 Page 23 of 23




                                   1                                             CONCLUSION

                                   2           For the reasons stated above, Plaintiffs’ Motion for Class Certification is denied.9

                                   3           A Case Management Conference is hereby scheduled for Wednesday, October 26, 2016 at

                                   4   2:00 p.m. A Joint Case Management Statement shall be filed by Monday, October 17, 2016 at

                                   5   5:00 p.m.

                                   6           IT IS SO ORDERED.

                                   7   Dated: September 30, 2016
                                                                                        ______________________________________
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                                                                                                      JON S. TIGAR
                                   9                                                            United States District Judge

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Northern District of California
 United States District Court




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                                        In light of this conclusion, the Court does not consider Defendants’ objections to the reports of
                                  28   Dr. Aimee Rossi and Dr. Peter Rossi submitted along with Plaintiffs’ Reply in support of class
                                       certification. ECF No. 272.
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